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November 12, 2007

RBC Dain Rauscher
Atin: Gabriela Sikich, US Retirement Benefits Manager
Mailstop P16

60 South Sixth Street

Minneapolis. MN 35402

Re: Steven Benhayon
Date of Termination: September 17, 2007

REQUEST FOR ACCELERATED YESTING
Dear Ms. Sikich:

‘This firm and the undersigned have been retained by Mr. Steven Benhayon for the
purpose of negotiating his severance from RBC. Mr. Benhayon was the Managing
Director of Institutional Salcs/Fixed Incomes Sales U.S., for RBC Capital Markets
in San Francisco.

At the time of RBC’s mass terminations of September 17, 2007 resulting in an
immediate reduction of 45% of its sales force within the Fixed Income Unit of
RBC Capital Markets, Mr. Benhayon was in fact a valued long term employee
with RBC (and its predecessor, Sutro Partners), spanning almost 17 years. For the
past 5 years, Mr. Benhayon has consistently been in the top 10% for sales
throughout the Fixed Income Unit, this, notwithstanding the volatility of the
market during that very same timeframe. Mr. Benhayon has been a yearly
recipient of the esteemed “Pinnacle Award”, which is based solely on
productivity. His participation in the Wealth Accumulation Plan is consistent with
this, as participation therein is designed for employees in a ‘select group of
management or highly compensated employees’. A review of the RBC Payroll
records and the WAP records clearly support this as RBC’s contribution to the
WAP account is directly related to that very same level of heightened productivity.

 

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Ms. Gabriella Sikich

U.S. Retirement Benefits Manager
In re Steven Benhayon
November 12, 2007

Page 2

Given Mr. Benhayon’s sudden termination by RBC “without” notice and/or
“cause”!, Mr. Benhayon makes request to the WAP Committee for a finding of
accelerated vesting of any/all funds on deposit in his WAP account, which are
estimaied to be $335,000.00. In accordance with the terms of the Plan, immediate
vesting of all employer contributions is available upon termination of
employment, subject to the sound diserction of the Committec.

Should you require additional documentation to assist in the Committee's review
of this request, please so advise.

Very truly yours, _

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cc: Client

 

' The significance of this being that if Mr. Benhayon had been terminated for
*oross or willful misconduct”, all deemed investments-of ithe employer are deemed
forfeited.

 

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eae RB Cc \ * Todd W. Schnell
: ” Senior Associate General Counsel
2 _ Bain Rauscher Piaza
Dam Rauscher _ ” 60 South Sixth Street

Minneapolis, MN 65402-4422
(612) 371-7263

{612) 371-7766 Fax
www.rbcdain.com

todd schnell @rbcdain.com

 

November 15, 2007

VIA. FACSIMILE (949-716-0606) & U.S. MAIL
Ms. Kari M. Myron

Law Office of Kari M. Myron
22972 Mill Creek Drive
Laguna Hills, CA 92653

Re: Steven Benhayon
Dear Ms. Myron:

This correspondence is sent in response to your letter of November 9, 2007, to
Mr. Argyle Burke and Ms. Tracy McDonald. RBC has carefully reviewed your
correspondence and the circumstances surrounding Mr. Benhayon’s termination from

employment.

I appreciate the effort you have undertaken to describe Mr. Benhayon’s
performance for RBC for the past five years, but I hope you understand that the decision
to terminate his employment stemmed from the decision to entirely eliminate certain of
RBC’s business operations in the San Francisco area. You properly acknowledged that
no severance payment was required, but RBC did decide to provide exiting employees
with severance pay to ease their transition out of the organization land to provide them
resources to assist in obtaining future employment. While RBC believed it was being
generous. in the offers it extended, I am sorry that Mr. Benhayon does not have a similar
view.

Mr. Benhayon was provided severance consistent with other employees offered
the severance plan and consistent with RBC’s past practice, Further, the terms of the
Wealth Accumulation Plan do not provide for the accelerated vesting of employer

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Ms, Kari M. Myron
November 15, 2007
Page 2

contributions that you seek. Accordingly, we are unable to increaseithe severance offered’
from that identified in the original letter io Mr. Benhayon. Mr. Benhayon’ S period to
accept this severance offer remains open through December 2, 2007:

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‘odd W. Schnell

Cc: Mr. Argyle Burke
Ms. Tracy McDonald

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TS / Todd W. Schnell
RBC ; Senior Associate General Counsel
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Minneapolis, MN 55402- 4422 | .
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(612) 371-7766 Fax
www.rbcdain.com
todd.schnell @rbcdain.com

 

December 11, 2007

VIA FACSIMILE (949-716-0606) & U.S. MAIL
Ms. Kari M. Myron

Law Office of Kari M. Myron

22972 Mill Creek Drive

Laguna Hills, CA 92653

Re: Steven Benhayon
Dear Ms. Myron:

This correspondence is sent in response to your letter of November 12, 2007, to
Ms. Gabriela Sikich, requesting a review of Mr. Benhayon’s WAP account by the WAP
committee.

On December 7, 2007, the RBC U.S. Wealth Accumulation Plan committee met
and reviewed Mr. Benhayon’s request for accelerated vesting of the unvested portion of
the employer contributions to his WAP account that had been forfeited, pursuant to
Section 4.4 of the Plan, at the time of his termination. After completing its review, the
Committee chose not to approve Mr. Benhayon’s request.

Pursuant to Section 7.4 of the Plan, you are entitled to request a review of the
foregoing denial. If you desire such a review, please comply with the provisions of
Section 7.4 and direct your written request to my attention.

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Ce: Ms. Gabriela Sikich

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